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                             of Opportunity for Hearing Page 1 of 2


                           UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                    Charlotte Division

In re:                                                 )       Chapter 11
                                                       )
DESIGNLINE CORPORATION, et al.                         )       Case No. 13-31943
                                                       )       Jointly Administered
                  Debtors.                             )
                                                       )

                       NOTICE OF OPPORTUNITY FOR HEARING
      (No Protest Notice – No Hearing Will be Held Unless Request for Hearing is Filed)

       PLEASE TAKE NOTICE that Moon Wright & Houston, PLLC (“MWH”) has filed a
Seventh Interim Post-Confirmation Fee Application of Moon Wright & Houston, PLLC for
Allowance of Compensation and Reimbursement of Expenses as Counsel to the Liquidating
Trustee, Elaine T. Rudisill (the “Application”).

       PLEASE TAKE FURTHER NOTICE that your rights may be affected by the
Application. You should read the Application carefully and discuss it with your attorney. If you
do not have an attorney, you may wish to consult with one.

         PLEASE TAKE FURTHER NOTICE that in order for a hearing to be held on the
Application, written responses, if any, must be filed on or before THURSDAY, JUNE 21, 2018
(the “Response Deadline”) in order to be considered. If you do not want the Court to grant the
relief requested in the Application, or if you oppose it in any way, you MUST:

         (1)      File a formal, written a response with the Bankruptcy Court at:

                             Clerk, United States Bankruptcy Court
                             Charles Jonas Federal Building
                             401 West Trade Street
                             Charlotte, North Carolina 28234-4189

(2)      Serve a copy of your response on all parties in interest, including:

                             U.S. Bankruptcy Administrator
                             402 West Trade Street
                             Charlotte, NC 28202

                             Andrew T. Houston
                             Moon Wright & Houston, PLLC
                             121 W. Trade Street, Suite 1950
                             Charlotte, NC 28202




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       PLEASE TAKE FURTHER NOTICE that IF RESPONSES ARE TIMELY FILED, a
hearing on the Application will be held on TUESDAY, JUNE 26, 2018 at 9:30 a.m. (ET) before
the Honorable J. Craig Whitley at the United States Bankruptcy Court, Charles Jonas Federal
Building, Courtroom 1-4, 401 West Trade Street, Charlotte, North Carolina.

       PLEASE TAKE FURTHER NOTICE that, if you or your attorney do not file a written
response to the Application on or before the Response Deadline, the Court may grant the relief
requested in the Application without a hearing. No further notice will be given.

Dated: Charlotte, North Carolina
       June 7, 2018


                                     MOON WRIGHT & HOUSTON, PLLC

                                            /s/ Andrew T. Houston
                                     Andrew T. Houston (Bar No. 36208)
                                     121 W. Trade Street, Suite 1950
                                     Charlotte, North Carolina 28202
                                     Telephone: (704) 944-6560
                                     Counsel for Elaine T. Rudisill, Liquidating Trustee




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